            Case 2:15-cr-00131-TLN Document 427 Filed 01/14/19 Page 1 of 2


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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131 TLN
10                                           )
                          Plaintiff,         )   STIPULATION AND ORDER
11                                           )
     vs.                                     )   Date: March 28, 2019
12                                           )   Time: 9:30 a.m.
     SHANNON ARMSTRONG,                      )   Judge: Honorable Troy L. Nunley
13                                           )
                          Defendant.         )
14                                           )

15

16         Sentencing in this matter is presently set for January 31, 2019.

17   Counsel for the defendant requests the Judgment and Sentencing be continued

18   to March 28, 2019 at 9:30 a.m.    Assistant United States Attorney Samuel Wong

19   and United States Probation Officer Anthony Andrews have been advised of this

20   request and have no objection.

21         The defense requests the Court adopt the following schedule pertaining

22   to the presentence report:

23            Judgment and Sentencing date:                          3/28/19

24            Reply to Sentencing Memorandum:                        3/21/19

25            Sentencing Memorandum:                                 3/14/19

26            Reply, or Statement of Non-Opposition:                 2/21/19

27            Motion for Correction of the Presentence
              Report Shall be filed with the Court and
28            served on the Probation Officer and
              Case 2:15-cr-00131-TLN Document 427 Filed 01/14/19 Page 2 of 2


1              opposing counsel no later than:                         1/31/19

2              The Presentence Report shall be filed
               with the Court And disclosed to counsel
3              no later than:                                          n/a

4              Counsel’s written objections to the
               Presentence Report Shall be delivered
5              to the probation officer and opposing
               Counsel no later than:                                  n/a
6
               The Presentence Report shall be filed
7              with the Court And disclosed to counsel
               no later than:                                          n/a
8

9
     Dated:   January 11, 2019                    /s/ John R. Manning
10                                                JOHN R. MANNING
                                                  Attorney for Defendant
11                                                Shannon Armstrong

12
     Dated:   January 11, 2019                    McGregor W. Scott
13                                                United States Attorney
                                                  by: /s/ Samuel Wong     ______
14                                                SAMUEL WONG
                                                  Assistant United States Attorney
15
                                          ORDER
16

17        The Court, having received, read, and considered the stipulation of the

18   parties, and good cause appearing therefrom, adopts the stipulation of the

19   parties in its entirety as its order.

20

21   IT IS SO FOUND AND ORDERED this 14th day of January, 2019.

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25
                                                   Troy L. Nunley
26                                                 United States District Judge
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